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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
     KIRKLAND & ELLIS LLP
                                                                                         Order Filed on May 8, 2024
     KIRKLAND & ELLIS INTERNATIONAL LLP                                                  by Clerk
     Edward O. Sassower, P.C.                                                            U.S. Bankruptcy Court
     Joshua A. Sussberg, P.C. (admitted pro hac vice)                                    District of New Jersey
     Steven N. Serajeddini, P.C. (admitted pro hac vice)
     Ciara Foster (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     Telephone:      (212) 446-4800
     Facsimile:      (212) 446-4900
     edward.sassower@kirkland.com
     joshua.sussberg@kirkland.com
     steven.serajeddini@kirkland.com
     ciara.foster@kirkland.com


     COLE SCHOTZ P.C.
     Michael D. Sirota, Esq.
     Warren A. Usatine, Esq.
     Felice R. Yudkin, Esq.
     Ryan T. Jareck, Esq.
     Court Plaza North, 25 Main Street
     Hackensack, New Jersey 07601
     Telephone:      (201) 489-3000
     msirota@coleschotz.com
     wusatine@coleschotz.com
     fyudkin@coleschotz.com
     rjareck@coleschotz.com

     Co-Counsel for Debtors and
     Debtors in Possession

     In re:                                                            Chapter 11

     WEWORK INC., et al.,                                              Case No. 23-19865 (JKS)

              Debtors. 1                                               (Jointly Administered)




 1
        A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
        claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal
        place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these
        chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton, OR
        97005.
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               TENTH ORDER APPROVING THE REJECTION
         OF CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED
 LEASES AND THE ABANDONMENT OF CERTAIN PERSONAL PROPERTY, IF ANY

       The relief set forth on the following pages, numbered three (3) through six (6), is

 ORDERED.




 DATED: May 8, 2024




                                            2
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 Debtors:                  WeWork Inc., et al.
 Case No.                  23-19865 (JKS)
 Caption of Order:         Tenth Order Approving the Rejection of Certain Executory Contracts
                           And/or Unexpired Leases and the Abandonment of Certain Personal
                           Property, If Any

         Upon the Order (I) Authorizing and Approving Procedures to Reject or Assume Executory

 Contracts and Unexpired Leases and (II) Granting Related Relief (the “Procedures Order”) 1

 [Docket No. 289] of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”); and the Court having jurisdiction over this matter and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having properly filed and served a Rejection Notice on each applicable

 party as set forth in the rejection schedule attached hereto as Exhibit 1 (including, with respect to

 real property, any known third party having a validly perfected secured interest in any remaining

 property, including personal property, furniture, fixtures, and equipment, located at the leased

 premises and that is authorized to be abandoned under this Order) (the “Rejection Schedule”) in

 accordance with the terms of the Procedures Order; and no timely objections having been filed to

 the rejection of such Contracts; and due and proper notice of the Procedures Order and

 the Rejection Notice having been provided to each applicable Rejection Counterparty as set forth

 in the Rejection Schedule and no other notice need be provided; and after due deliberation and

 sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:




 1
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Procedures Order.
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 Debtors:               WeWork Inc., et al.
 Case No.               23-19865 (JKS)
 Caption of Order:      Tenth Order Approving the Rejection of Certain Executory Contracts
                        And/or Unexpired Leases and the Abandonment of Certain Personal
                        Property, If Any

        1.      The Contracts listed on the Rejection Schedule attached hereto as Exhibit 1 are

 rejected under section 365 of the Bankruptcy Code effective as of the later of the applicable

 Rejection Date or such other date as the Debtors and the applicable Rejection Counterparty agrees;

 provided, that the Rejection Date for a rejection of a lease of nonresidential real property shall not

 occur until the later of (i) the “Scheduled Rejection Date” set forth on Exhibit 1 and (ii) the date

 the Debtors relinquish control of the premises by notifying the affected landlord and such

 landlord’s counsel (if known to Debtors’ counsel) in writing (email being sufficient) of

 the Debtors’ surrender of the premises as of the date of such writing and, as applicable, (1) turning

 over keys issued by the landlord, key codes, and/or security codes, if any, to the affected landlord

 or (2) notifying such affected landlord and such landlord’s counsel (if known to Debtors’ counsel)

 in writing (email being sufficient) that the property has been surrendered, all WeWork-issued key

 cards have been disabled and, unless otherwise agreed as between the Debtors and the landlord,

 each affected landlord is authorized to disable all WeWork-issued key cards (including those of

 any members using the leased location) and the landlord may rekey the leased premises

 (the “Rejection Date”).

        2.      The Debtors are authorized, but not directed, at any time on or before the applicable

 Rejection Date, to remove or abandon any of the Debtors’ personal property that may be located

 on the Debtors’ leased premises that are subject to a rejected Contract; provided, however, that

 (i) nothing shall modify any requirement under applicable law with respect to the removal of any

 hazardous materials as defined under the applicable law from any of the Debtors’ leased premises,

 and (ii) to the extent the Debtors seek to abandon personal property known to contain “personally
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 Debtors:               WeWork Inc., et al.
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                        And/or Unexpired Leases and the Abandonment of Certain Personal
                        Property, If Any

 identifiable information,” as that term is defined in section 101(41A) of the Bankruptcy Code

 (the “PII”), the Debtors shall use commercially reasonable efforts to remove the PII from such

 personal property before abandonment. The applicable landlord may return any remaining PII to

 the Debtors at WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.

 Beaverton, OR 97005. The personal property will be deemed abandoned pursuant to section 554

 of the Bankruptcy Code, as is, effective as of the Rejection Date. For the avoidance of doubt, and

 absent any sustained objection as it relates to personal property at a particular premises, any and

 all personal property located on the Debtors’ leased premises on the Rejection Date of

 the applicable lease of nonresidential real property shall be deemed abandoned pursuant to section

 554 of the Bankruptcy Code, as is, effective as of the Rejection Date. Landlords may, in their sole

 discretion and without further notice or order of this Court, utilize and/or dispose of such personal

 property without notice or liability to the Debtors or third parties and, to the extent applicable,

 the automatic stay is modified to allow such disposition.

        3.      Claims arising out of the rejection of Contracts, if any, must be filed on or before

 the later of (i) the deadline for filing proofs of claim established in these chapter 11 cases, if any,

 and (ii) thirty (30) days after the later of (A) the date of entry of this Order approving rejection of

 the applicable Contract, and (b) the Rejection Date. If no proof of claim is timely filed, such

 claimant shall be forever barred from asserting a claim for damages arising from the rejection and

 from participating in any distributions on such a claim that may be made in connection with these

 chapter 11 cases.
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 Debtors:              WeWork Inc., et al.
 Case No.              23-19865 (JKS)
 Caption of Order:     Tenth Order Approving the Rejection of Certain Executory Contracts
                       And/or Unexpired Leases and the Abandonment of Certain Personal
                       Property, If Any

        4.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order and the rejection without further order from this Court.

        5.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
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                                      Exhibit 1

                                 Rejection Schedule
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η          dŝƚůĞͬĞƐĐƌŝƉƚŝŽŶŽĨ>ĞĂƐĞ               ĞďƚŽƌ>ĞŐĂůŶƚŝƚǇ      WƌŽƉĞƌƚǇĚĚƌĞƐƐ            >ĂŶĚůŽƌĚͬ             >ĂŶĚůŽƌĚͬ            ^ĐŚĞĚƵůĞĚ       ďĂŶĚŽŶĞĚWĞƌƐŽŶĂů          dŚŝƌĚWĂƌƚǇ^ĞĐƵƌĞĚ/ŶƚĞƌĞƐƚ
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                                                                          ƵƐƚŝŶ͕dyϳϴϳϬϭ        >>                     ^ƵŝƚĞϱϴϬ͕>ŽƐŶŐĞůĞƐ͕                   &ŝǆƚƵƌĞƐĂŶĚͬŽƌƋƵŝƉŵĞŶƚ   ĨƵŶĚĞĚĚĞďƚ
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